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                           No. 23-_________

                                 In the

           United States Court of Appeals
                     for the Eleventh Circuit

                     IN RE BRAD RAFFENSPERGER,
                                           Petitioner.

On Petition for Writ of Mandamus to the United States District Court
       for the Northern District of Georgia, Atlanta Division.
          Donna Curling et al. v. Brad Raffensperger, et al.
           No. 1:17-cv-2989-AT — Amy Totenberg, Judge

          PETITION FOR WRIT OF MANDAMUS

             RELIEF NEEDED BY JANUARY 8, 2024

Bryan P. Tyson                       Vincent R. Russo
Diane F. LaRoss                      Josh Belinfante
Bryan F. Jacoutot                    Carey A. Miller
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                                       ebedard@robbinsfirm.com
                                       jpicoprats@robbinsfirm.com

                         Counsel for Petitioner
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           CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Eleventh Circuit Rules 21-1 and 26.1-1 through 26.1-

3, counsel for Petitioner Brad Raffensperger hereby certify that the

below is a complete list of all trial judges, attorneys, persons,

associations of persons, firms, partnerships, or corporations that have

an interest in the outcome of this appeal:

 1.    Abney, Russell T.: Counsel for Amicus Electronic Privacy

       Information Center.

 2.    Abrams for Governor: Objector in the underlying case.

 3.    Adams, Kimberly M. Esmond: Fulton Superior Court, Judge.

 4.    Alan Butler: Counsel for Amicus Electronic Privacy Information

       Center.

 5.    Altshuler Berzon, LLP: Counsel for Amicus Common Cause.

 6.    Andreu-von Euw, Christian G.: Counsel for Plaintiffs.

 7.    Ardoin, R. Kyle: Secretary of State of the State of Louisiana and

       former Proposed Intervenor.

 8.    Ascarrunz, Veronica: Counsel for Plaintiffs.

 9.    Baconton Missionary Baptist Church, Inc.: Objector in the

       underlying case.


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10.    Balli, James A.: Former counsel for Defendant Petitioner,

       terminated 11/17/2022.

11.    Barnes: Roy E.: Former counsel for former defendant Secretary

       of State, Brian P. Kemp, and State Election Board Members,

       terminated on 2/15/2019.

12.    Barron, Richard: Former defendant in underlying case.

13.    Bedard, Edward A.: Counsel for Defendant Petitioner.

14.    Belinfante, Joshua Barrett: Counsel for Defendant Petitioner.

15.    Bentrott, Jane P.: Former counsel for Plaintiffs, terminated on

       8/28/2020.

16.    Berzon, Stephen P.: Counsel for Amicus Common Cause.

17.    Blitch IV, Pierce Groover: Counsel for Movant Hancock County

       Board of Elections and Registration.

18.    Bondurant Mixson & Elmore, LLP: Former counsel for Plaintiffs.

19.    Brady, Robert: Objector in the underlying case.

20.    Bridges, Agnes: Objector in the underlying case.

21.    Brimer, Marcie: Former counsel for Plaintiffs, terminated on

       8/28/2020.




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22.    Brody, David R.: Former counsel for Plaintiffs, terminated on

       01/08/2021.

23.    Brogan, Eileen M.: Former counsel for Plaintiffs, terminated on

       07/09/2021.

24.    Brooks, Jessica: Former defendant in underlying case,

       terminated on 6/13/2018.

25.    Brown, Bruce P.: Counsel for Plaintiffs.

26.    Bruce P. Brown Law: Counsel for Plaintiffs.

27.    Bryan, Bennett Davis: Former counsel for former defendant in

       underlying case, DeKalb County, terminated 06/13/2018.

28.    Burge, David J.: Former defendant in underlying case.

29.    Burton, Robert D.: Former counsel for Defendant, terminated

       01/18/2022.

30.    Burwell, Kaye Woodard: Counsel for former defendant Fulton

       County in underlying case.

31.    Butler, Alan Jay: Counsel for Amicus Electronic Privacy

       Information Center.

32.    Caldwell, Joe Robert, Jr.: Former counsel for Plaintiffs,

       terminated on 11/29/2017.


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33.    Campbell, Benjamin E.: Counsel for Plaintiffs.

34.    Capriola, Richard J.: Counsel for Respondent Paul V. Maggio.

35.    Care in Action, Inc.: Objector in the underlying case.

36.    Carlin, John P.: Former counsel for Plaintiffs, terminated

       01/11/2021.

37.    Chapple, Catherine L.: Former counsel for Plaintiffs, terminated

       on 8/28/2020.

38.    Cheeley Law Group, LLC: Former counsel for Respondent

       Cathleen Alston Latham.

39.    Cheeley, Robert D.: Former counsel for Respondent Cathleen

       Alston Latham, terminated 09/05/2023.

40.    Cino, Jessica G.: Counsel for Plaintiffs.

41.    Clark, Bryan: Counsel for former Proposed Intervenor Herring

       Networks, Inc.

42.    Coalition for Good Governance: Plaintiff.

43.    Cobb County Attorney’s Office: Former counsel for former

       defendants Cobb County in underlying case, terminated on

       11/3/2017.




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44.    Coffee County Board of Elections: Former movant in the

       underlying case.

45.    Coleman, Eric B.: Counsel for Respondent Paul V. Maggio.

46.    Common Cause: Amicus in the underlying case.

47.    Conarck, Jacob Paul: Former counsel for Plaintiffs, terminated

       01/08/2021.

48.    Constantine Cannon LLP: Counsel for Plaintiffs.

49.    Cooney, Mary Carole: Former defendant in the underlying case.

50.    Correia, Cristina: Former counsel for former defendant Brain P.

       Kemp and State Election Board Members, terminated on

       11/3/2017.

51.    Coveny, Michael P.: Former defendant in the underlying case,

       terminated on 6/13/2018.

52.    Cross, David D.: Counsel for Plaintiffs.

53.    Crumly, Jonathan Dean, Sr.: Former counsel for Defendant

       Petitioner, terminated 11/17/2022.

54.    Curling, Donna: Plaintiff.

55.    Daniell, Phil: Former defendant in the underlying case,

       terminated on 6/13/2018.


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56.    Daniels, Maxine: Former defendant in the underlying case,

       terminated on 6/13/2018.

57.    Daniels, Douglas A.: Former counsel for former Proposed

       Intervenor Michael J. Lindell, terminated 03/30/2022.

58.    Daniels & Tredennick PLLC: Former counsel for former

       Proposed Intervenor Michael J. Lindell.

59.    Davis, Deborah J.: Proposed Intervenor.

60.    Davis, Ricardo: Plaintiff.

61.    Denton, Alexander Fraser: Counsel for Defendant Petitioner.

62.    DeKalb County District Attorney’s Office: Former counsel for

       former defendant DeKalb County.

63.    Digges, Laura: Plaintiff.

64.    Digges, William, III: Plaintiff.

65.    Duane Morris LLP: Counsel for former Proposed Intervenor

       Newsmax, Inc.

66.    Duffey Jr., William S.: Former Chair of the Georgia State

       Election Board and former Defendant.

67.    Ebenezer Baptist Church of Atlanta, Georgia, Inc.: Objector in

       the underlying case.


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68.    Edmondson, Anna N.: Counsel for Defendant Petitioner.

69.    Electronic Privacy Information Center: Amicus in the underlying

       case.

70.    Elson, Hannah R.: Former counsel for Plaintiffs, terminated

       11/27/2023.

71.    Eveler, Janine: Former defendant and Director of the Cobb

       County Board of Elections and Registration, terminated on

       6/13/2018.

72.    Fair Fight Action, Inc.: Objector in the underlying case.

73.    Ferrer Poirot & Wansbrough-GA: Counsel for Amicus Electronic

       Privacy Information Center.

74.    Fisher, Ramsey W.: Counsel for Plaintiffs.

75.    Fleming & Nelson, LLP: Counsel for Movant Hancock County

       Board of Elections and Registration.

76.    Flores, Rommy L.: Former counsel for Plaintiffs, terminated

       12/10/2021.

77.    Fortalice Solutions, LLC: Respondent.

78.    Fox News Network, LLC: Former Proposed Intervenor.




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79.    Fuchs, Zachary D.: Former counsel for Plaintiffs, terminated

       06/21/2022.

80.    Georgia Department of Law: Counsel for former Secretary of

       State, defendant Brain P. Kemp and State Election Board

       Members.

81.    Ghazal, Sara T.: Member of the Georgia State Election Board

       and Defendant.

82.    Glover, Joel R.: Former counsel for former Proposed Intervenor

       Fox News Network, LLC, terminated 07/05/2022.

83.    Gwinnett County Department of Law: Counsel for Kristi L.

       Royston, Objector in the underlying case.

84.    Hall Booth Smith: Counsel for Respondent Coffee County Board

       of Elections.

85.    Hancock County Board of Elections and Registration: Movant in

       underlying case.

86.    Handel, Karen C.: Former defendant in underlying case,

       terminated on 9/28/2017.

87.    Harding, Todd A.: Former counsel for Plaintiff Ricardo Davis,

       terminated 12/017/2023.


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88.     Harding Law Firm, LLC: Former counsel for Plaintiff Ricardo

        Davis, terminated 12/017/2023.

89.     Harp, Seth: Former Member of the Georgia State Election Board.

90.     Havian, Eric R.: Former counsel for Plainitffs, terminated

        03/11/2022.

91.     Hayne Litchfield Crane & White: Former counsel for former

        defendant in underlying case, DeKalb County.

92.     Hedgecock, Lyle F.: Counsel for Plaintiffs.

93.     Heidt, Josiah Benjamin: Former counsel for former Secretary of

        State, Brain P. Kemp and State Election Board Members,

        terminated on 11/3/2017.

94.     Hendrix, Barclay: Former counsel for former defendant in the

        underlying case, Karen C. Handel.

95.     Herring Networks, Inc.: Former Proposed Intervenor.

96.     Highsmith, Robert S.: Former counsel for former defendant in

        the underlying case, Merle King.

97.     Hilbert, Kurt R.: Counsel for former Proposed Intervenor My

        Pillow Inc.




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98.     Holcomb + Ward, LLP: Former counsel for Plaintiffs, terminated

        on 2/5/2018.

99.     Holden, Deirde: Objector in the underlying case.

100. Holland & Knight LLP: Former counsel for former defendant in

        the underlying case, Merle King.

101. Ichter, Cary: Counsel for Plaintiffs.

102. Ichter Davis, LLC: Counsel for Plaintiffs.

103. Jackson-Fannin, Julian A.: Counsel for former Proposed

        Intervenor Newsmax, Inc., terminated 08/11/2022.

104. Jackson Walker L.L.P.: Counsel for former Proposed Intervenor

        Fox News Network, LLC

105. Jacoutot, Bryan Francis: Counsel for Defendant Petitioner.

106. Jarrard & Davis, LLP: Counsel for Ameika Pitts, Objector in the

        underlying case.

107. Jihadi, Wail: Counsel for Plaintiffs.

108. Johnson, Aaron: Defendant in underlying case.

109. Johnson, Laura K.: Former counsel for former defendant DeKalb

        County.

110. Johnson, Melanie L.: Counsel for Defendant Petitioner.


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111. Johnston, Janice W.: Member of the Georgia State Election

     Board and Defendant.

112. Jon L. Schwartz, Attorney at Law, P.C.: Former Counsel for

     Amicus Common Cause, terminated 10/01/2020 and counsel for

     Amicus National Election Defense Coalition and Protect

     Democracy.

113. Jones Walker, LLP: Counsel for former Proposed Intervenor R.

     Kyle Ardoin.

114. Joseph, Oluwasegun: Counsel for Plaintiffs.

115. Kaiser, Mary G.: Counsel for Plaintiffs.

116. Kastorf, Kurt G.: Counsel for Objectors Care in Action, Inc,

     Ebenezer Baptist Church of Atlanta, Georgia, Inc., Fair Fight

     Action, Inc., Sixth Episcopal District Inc., Virginia Highland

     Church, Inc., Abrams for Governor, and Baconton Missionary

     Baptist Church, Inc.

117. Keller, Scott A.: Counsel for former Proposed Intervenor Fox

     News Network, LLC, terminated 08/11/2022.

118. Kemp, Brian P.: Former Secretary of State and former defendant

     in the underlying case, terminated on 4/9/2019.


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119. Kidd, Milton: Objector in the underlying case.

120. Kimrey, Blaine C.: Counsel for former Proposed Intervenor

     Herring Networks, Inc., terminated 08/11/2022.

121. King, Merle: Executive Director of the Center for Election

     Systems at Kennesaw State-former defendant in the underlying

     case, terminated on 6/13/2018.

122. Kinsley, Nicholas A.: Counsel for Respondent Coffee County

     Board of Elections.

123. Kirk, Joseph: Objector in the underlying case.

124. Knapp, Halsey G., Jr.: Counsel for Plaintiffs.

125. Koechley, Julia L.: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

126. Krevolin & Horst, LLC: Counsel for Plaintiffs.

127. Krugman, Edward B.: Former counsel for Plaintiffs.

128. Lake, Brian Edward: Former counsel for Defendant Petitioner,

     terminated 04/25/2023.

129. LaRoss, Diane Festin: Counsel for Defendant Petitioner.

130. Latham, Cathleen A.: Former Movant in the underlying case.




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131. Lawyers’ Committee for Civil Rights Under Law: Counsel for

     Plaintiffs.

132. Law Office of David E. Oles: Counsel for Plaintiff Ricardo Davis.

133. Le, Anh: Former member of the Georgia State Election Board

     and former Defendant.

134. Lehotsky Keller Cohn LLP: Counsel for former Proposed

     Intervenor Fox News Network, LLC.

135. Lewis, Anthony: Former defendant in the underlying case,

     terminated on 6/13/2018

136. Leyton, Stacey M.: Former counsel for Amicus Common Cause,

     terminated 10/01/2020.

137. Lim, Marvin: Former counsel for Plaintiffs, terminated on

     12/21/2017.

138. Lindell, Michael J.: Former Proposed Intervenor.

139. Lindenbaum, Dara: Counsel for Objectors Care in Action, Inc,

     Ebenezer Baptist Church of Atlanta, Georgia, Inc., Fair Fight

     Action, Inc., Sixth Episcopal District Inc., Virginia Highland

     Church, Inc., Abrams for Governor, and Baconton Missionary

     Baptist Church, Inc.


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140. Lindsey, Edward: Defendant and Member of the Georgia State

     Election Board.

141. Lowman, David R.: Counsel for former defendant Fulton County

     in underlying case.

142. Maggio, Paul V.: Former movant in the underlying case.

143. Maguire, Joseph M.: Counsel for Respondent U.S. Dominion, Inc.

144. Manoso, Robert W.: Counsel for Plaintiffs.

145. Martino-Weinhardt, Matthaeus H.: Counsel for Plaintiffs.

146. Mashburn, Matthew: Defendant and Member of the Georgia

     State Election Board.

147. Matarazzo, Stan: Former defendant in underlying case,

     terminated 09/15/2017.

148. McGuire III, Robert Alexander: Counsel for Plaintiffs.

149. Middleton, Caroline L.: Former counsel for Plaintiffs, terminated

     11/27/2023.

150. Miller, Carey Allen: Counsel for Defendant Petitioner.

151. Miller, J. Britten: Amicus curiae.

152. Missett, Megan: Plaintiff.




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153. Monyak, Elizabeth Ahern: Former counsel for former defendant

     Cobb County.

154. Morrison & Foerster, LLP-DC: Counsel for Plaintiffs.

155. Murray, Matthew J.: Former counsel for Amicus Common Cause,

     terminated 10/01/2020.

156. My Pillow Inc.: Former Proposed Intervenor.

157. Nally, Paul L.: Amicus curiae.

158. National Election Defense Coalition: Amicus in the underlying

     case.

159. Newsmax, Inc.: Former Proposed Intervenor.

160. Ney Hoffecker Peacock & Hayle, LLC: Counsel for Plaintiffs.

161. Ney, William Brent: Counsel for Plaintiffs.

162. Ney Rhein, LLC: Counsel for Plaintiffs.

163. Novosad, Heath: Former counsel for former Proposed Intervenor

     Michael J. Lindell.

164. Nuriddin, Vernetta: Former Defendant.

165. Office of Fulton County Attorney: Counsel for former defendant

     Fulton County in underlying case.

166. Oles, David E.: Counsel for Plaintiff Ricardo Davis.


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167. Ossoff, Thomas Jonathan: Former interested party in underlying

     case, terminated 09/28/2017.

168. Paradise, Loree Anne: Former counsel for Defendant Petitioner,

     terminated 10/03/2022.

169. Park, Jeanah: Counsel for former Proposed Intervenor Herring

     Networks, Inc.

170. Parker, Andrew D.: Counsel for former Proposed Intervenors My

     Pillow, Inc. and Michael J. Lindell.

171. Parker Daniels Kibort, LLC: Counsel for former Proposed

     Intervenors My Pillow, Inc. and Michael J. Lindell.

172. Parks, Chesin & Walbert, P.C.: Counsel for Respondent U.S.

     Dominion, Inc.

173. Peeler, Charles E.: Counsel for former Proposed Intervenor Fox

     News Network, LLC.

174. Perry, Leona: Former defendant in underlying case, terminated

     on 6/13/2018.

175. Pettit, Joe: Former defendant in underlying case, terminated on

     6/13/2018.




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176. Phillips, James Jayson: Counsel for Objectors Joseph Kirk and

     Deidre Holden.

177. Phillips, Terry G.: Former counsel for former defendant in

     underlying case, DeKalb County.

178. Pico-Prats, Javier: Counsel for Defendant Petitioner.

179. Pierson, Holly A.: Former counsel for Respondent Cathleen

     Alston Latham, terminated 08/31/2023.

180. Pierson Law LLC: Former counsel for Respondent Cathleen

     Alston Latham, terminated 08/31/2023.

181. Pitts, Ameika: Objector in the underlying case.

182. Porter, Reiley J.: Counsel for Plaintiffs.

183. Powers, John Michael: Former counsel for Plaintiffs, terminated

     01/08/2021.

184. Price, Donna: Plaintiff.

185. Protect Democracy: Amicus in the underlying case.

186. Pull, Joseph A.: Counsel for former Proposed Intervenors My

     Pillow, Inc. and Michael J. Lindell.

187. Raffensperger, Brad: Secretary of State of the State of Georgia

     and Defendant Petitioner.


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188. Ringer, Cheryl: Counsel for former defendant Fulton County in

     underlying case.

189. Robbins Ross Alloy Belinfante Littlefield LLC: Counsel for

     Defendant Petitioner.

190. Robert McGuire Law Firm: Counsel for Plaintiffs.

191. Robin, Kenneth Paul: Counsel for Objector Ameika Pitts.

192. Rockdale County Board of Elections and Registration: Objector

     in the underlying case.

193. Rosenberg, Ezra David: Former counsel for Plaintiffs, terminated

     01/08/2021.

194. Rowan, Nancy L.: Counsel for former defendants Fulton County

     Board of Registration and Elections, Richard Barron, Mark

     Wingate, and Kathleen D. Ruth.

195. Royston, Kristi L.: Objector in the underlying case.

196. Russo, Vincent Robert, Jr.: Counsel for Defendant Petitioner.

197. Ruth, Kathleen D.: Former defendant in the underlying case.

198. Salter, John Frank, Jr.: Former counsel for former Secretary of

     State, Brain P. Kemp and State Election Board Members,

     terminated on 2/15/2019.


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199. Sandler Reiff Lamb Rosenstein & Birkenstock, P.C.: Counsel for

     Objector Care in Action, Inc.

200. Scheinman, Aaron H: Counsel for Plaintiffs.

201. Schnell, Grant Edward: Former counsel for former defendant in

     the underlying case, Merle King.

202. Schoenberg, Jeffrey: Plaintiff.

203. Schwartz, Edward Bruce: Former counsel for Plaintiffs,

     terminated on 11/29/2017.

204. Schwartz, Jonathan Lee: Former Counsel for Amicus Common

     Cause, terminated 10/01/2020 and counsel for Amicus National

     Election Defense Coalition and Protect Democracy.

205. Simpson, Ralph F.: Former Member of the Georgia State

     Election Board.

206. Sixth Episcopal District, Inc.: Objector in the underlying case.

207. Sparks, Adam Martin: Counsel for Plaintiffs.

208. Squire Patton Boggs: Counsel for former defendants Fulton

     County Board of Registration and Elections, Richard Barron,

     Mark Wingate, and Kathleen D. Ruth.

209. Steptoe & Johnson-DC: Counsel for Plaintiffs.


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210. Stillman Welch, LLC: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

211. Strickland Brockington Lewis, LLP: Former counsel for former

     defendant Karen C. Handel.

212. Strickland, Frank B.: Former counsel for former defendant

     Karen C. Handel.

213. Sugarman, F. Skip: Counsel for Amicus Common Cause.

214. Sugarman Law LLP: Counsel for Amicus Common Cause.

215. Sullivan, Rebecca N.: Member of the Georgia State Election

     Board and Defendant.

216. Swanbeck, Sonja N.: Counsel for Plaintiffs.

217. Talley Richardson & Cable, P.A.: Counsel for Objector Joseph

     Kirk.

218. Talmor, Kate: Counsel for United States of America.

219. Taylor English Duma LLP: Counsel for Defendant Petitioner.

220. Tepfer, Cameron A.: Former counsel for Plaintiffs, terminated on

     9/3/2019.

221. Terry, Edward Curtis: Former plaintiff in the underlying case,

     terminated on 3/20/2018.


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222. The Barnes Law Group, LLC: Former counsel for former

     Secretary of State, Brain P. Kemp and State Election Board

     Members, terminated on 2/15/2019.

223. The Business Litigation Group, P.C.: Counsel for Plaintiffs.

224. The Center for Election Systems at Kennesaw State University:

     Former defendant in the underlying case, terminated on

     9/15/2017.

225. The Cobb County Board of Elections and Registration: former

     defendant in the underlying case, terminated on 6/13/2018

226. The Dekalb County Board of Registrations and Elections:

     Former defendants in the underlying case, terminated on

     6/13/2018

227. The Fulton County Board of Registration and Elections: Former

     defendant in the underlying case.

228. The Hilbert Law Firm, LLC: Counsel for former Proposed

     Intervenors My Pillow Inc. and Michael J. Lindell.

229. The State Election Board: Defendant.

230. Theriot, Chad V.: Counsel for former Proposed Intervenor R.

     Kyle Ardoin.


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231. Tillman, Samuel E.: Former defendant in the underlying case,

     terminated on 6/13/2018.

232. Totenberg, Hon. Amy: Judge in underlying case, United States

     District Court for the Northern District of Georgia.

233. Troutman Pepper Hamilton Sanders LLP: Counsel for former

     Proposed Intervenor Fox News Network, LLC.

234. Tyson, Bryan P.: Counsel for Defendant Petitioner.

235. U.S. Dominion, Inc.: Respondent in underlying case.

236. Vedder Price, P.C.: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

237. Virginia-Highland Church, Inc.: Objector in the underlying case.

238. Vu, Baoky N.: Former defendant in the underlying case,

     terminated on 6/13/2018.

239. Waldon Adelman Castilla Hiestand & Prout: Former counsel for

     former interested party Thomas Jonathan Ossoff.

240. Waldon, Russell: Former counsel for former interested party

     Thomas Jonathan Ossoff.

241. Ward, Bryan Myerson: Former counsel for Plaintiffs, terminated

     on 2/5/2018.


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242. Watts Guerra LLP: Counsel for Amicus Electronic Privacy

     Information Center.

243. Webb, Wheaton: Counsel for former Proposed Intervenor Fox

     News Network, LLC.

244. Welch, T. Brandon: Counsel for former Proposed Intervenor

     Herring Networks, Inc.

245. White, Daniel Walter: Former counsel for former defendant

     DeKalb County.

246. White-Davis, Angela: Objector in the underlying case.

247. Wiesebron, Tamara R.: Counsel for Plaintiffs.

248. Winter Capriola Zenner, LLC: Counsel for Respondent Paul V.

     Maggio.

249. Wilson, Darryl O.: Former defendant in the underlying case,

     terminated on 6/13/2018.

250. Wilson, Melanie Felicia: Counsel for Kristi L. Royston, Objector

     in the underlying case.

251. Wingate, Mark: Former defendant in the underlying case,

     terminated on 6/13/2018.




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                      In re Raffensperger, et al.
                           No. 23-________

252. Worley, David J.: Former of the Georgia State Election Board

     and Defendant.

253. Wright, Aaron: Former counsel for Plaintiffs, terminated on

     12/21/2017.




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            STATEMENT REGARDING ORAL ARGUMENT

     Although the issues involved in this petition are extraordinarily

important to Georgia’s sovereign interests, this Court can issue relief

without holding oral argument because the district court’s error is

evident under this Court’s precedent. Should the Court wish to hold

argument, however, the Secretary requests the opportunity to

participate.

     In the interim, petitioner respectfully requests that the Court stay

the underlying district court order, as addressed in his concurrently filed

time-sensitive motion for a stay of the district court’s order and

enforcement of the underlying subpoena pending resolution of this

petition.




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                             INTRODUCTION

         The Secretary seeks a writ of mandamus to correct the district

court’s clear and indisputable error in compelling the Secretary to

personally testify at Plaintiffs’ behest in the upcoming trial in this case

that is set to begin in less than three weeks on January 9, 2024—in the

middle of the legislative session and preparations for the 2024 election

cycle.

         The Supreme Court, this Court, and its sister circuits across the

country have held that testimony from a high-ranking government

official is proper only as a last resort under “extraordinary

circumstances” where there is a “special need” for the official’s personal

testimony. Plaintiffs cannot show the extraordinary circumstances

necessary for a federal court to order a public official like the Secretary

to testify. Plaintiffs have not identified any relevant issues that are

essential to their case and to which only the Secretary can personally

speak. Indeed, there are numerous other current and former employees

of the Secretary’s Office that are competent (and likely better

positioned) to testify as to the central matters at issue in the trial.

         Nevertheless, despite never deposing the Secretary, Plaintiffs



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sought (and the district court ordered) the Secretary himself to

personally appear at trial simply because he has made public

statements criticizing Plaintiffs’ expert (whose opinions have been

widely disseminated and who likewise regularly comments publicly on

voting issues) and defending the security and integrity of Georgia’s use

of Dominion Voting System’s Ballot Marking Device electronic voting

machines (the “BMD System”) for in-person voting. The district court

further held that testifying at trial wouldn’t be particularly burdensome

for the Secretary because the Secretary was only “six minutes from [the]

courthouse. Even by walking, it is about ten minutes.” Ex. 1 at 128:12–

14.1

       But making public statements is part of the day-to-day job of

many high-ranking government officials, including the Secretary. If the

Secretary were required to testify every time he made public statements



1 Pursuant to Fed. R. App. 21(a)(2)(C), relevant documents in the

 district court record are attached as exhibits to this petition. A
 reference list of these exhibits is included as Addendum 1 at the end of
 this petition. References within the petition shall be to the exhibit
 number followed by the page number that appears in the header
 generated by the district court’s electronic filing system. References to
 transcripts, however, refer to the page number assigned by the court
 reporter.

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about Georgia’s voting system, “his time would be monopolized by

preparing and testifying” in the numerous election- and voting-related

cases filed every cycle. In re United States, 985 F.2d 510, 512 (11th Cir.

1993). Simply making these public statements does not and cannot

qualify as “extraordinary circumstances” demonstrating a “special need”

for the Secretary’s testimony. See In re Paxton, 60 F.4th 252, 258 (5th

Cir. 2023) (rejecting attempt to depose Texas’s Attorney General under

almost identical circumstances). This is particularly true where the

Plaintiffs have already deposed and designated as trial witnesses

numerous senior staff within the Secretary’s office.

     The Secretary has a clear right to relief from the district court’s

orders compelling him to testify at this trial. He has no other adequate

means to obtain that relief. Under these troubling circumstances, this

Court should issue a writ of mandamus.

                 STATEMENT OF JURISDICTION

     This Court has jurisdiction to issue a writ of mandamus under the

All Writs Act, 28 U.S.C. § 1651(a); see also In re United States, 985 F.2d

510, 511–12 (11th Cir. 1993).




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                         ISSUES PRESENTED

  1. Whether the district court clearly abused its discretion in
     compelling Georgia’s Secretary of State, Brad Raffensperger, to
     testify at trial because he made public statements about the
     general subject matter of the lawsuit.

                     STATEMENT OF THE CASE

     This case involves a challenge to Georgia’s electronic voting

system that was first filed in 2017. Plaintiffs’ 2 central theory in this

case is that Georgia’s use of the BMD System for in-person voting

imposes a severe constitutional burden on their right to have their votes

accurately counted as cast. Plaintiffs claim that the BMD System is

vulnerable to hacking that could theoretically change the QR codes

without voters’ knowledge and thereby change the vote that is actually

tabulated. Accordingly, Plaintiffs seek to enjoin the Secretary (and

fundamentally the State of Georgia) from using this electronic voting

system chosen by its elected officials because they say that these alleged

vulnerabilities constitute an unconstitutional burden on the right to




2 Plaintiffs are divided into two groups: the Curling Plaintiffs and the

 Coalition Plaintiffs, who divided in 2018 over disputes in litigation
 strategy. Those differences, however, are largely irrelevant to this
 petition.

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vote.

        The Secretary vigorously disputes these claims, and strongly

believes that Plaintiffs’ entire case is legally and factually meritless,

including because Plaintiffs lack Article III standing. Plaintiffs

maintain their claims despite failing to produce a single piece of

evidence that any BMD has actually been hacked or that any vote has

actually been changed, despite the BMD System’s inclusion of a printed,

human-readable list of each of the voter’s selections, and despite

multiple risk-limiting audits and a widely lauded full hand recount of

the 2020 presidential election that confirmed the accuracy and

reliability of Georgia’s election system. The Secretary looks forward to

demonstrating these fundamental flaws in Plaintiffs’ case and

defending Georgia’s voting system at trial, which is finally set to begin

on January 9, 2024 after six years of litigation. And, if necessary, the

Secretary is prepared to correct any errors on the merits in a future

appeal before this Court.

I.      Plaintiffs’ attempt to depose the Secretary two years ago.

        Relevant to this petition, however, the district court committed

clear error by compelling the Secretary to personally testify at trial.



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Plaintiffs first attempted to depose the Secretary two years ago by

serving him with a deposition notice in January 2022. Ex. 2. The

Secretary immediately objected to that deposition notice on multiple

grounds, including that it inappropriately sought to “obtain the

testimony of a high-ranking government official without the requisite

showing of a special need to depose the Secretary by demonstrating that

testimony is not available from alternate witnesses.” Ex. 3 at 2.

     Plaintiffs responded to the Secretary’s objection on January 25,

2022. In their response, Plaintiffs claimed that the Secretary was

“uniquely qualified” to testify about the issues raised in the case

because he had made “substantive comments on the merits of this

litigation, on the elements of the Georgia election system at issue in this

case, the integrity and reliability of that system, the quality of the

audits and outcomes of elections using those systems, and other related

matters.” Ex. 4 at 2. They also pointed to the fact that the Secretary had

“made time for countless national TV appearances, given hundreds of

speeches, and ha[d] even written a book” about Georgia’s election




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system. Id. at 2–3. 3 Beyond these statements, Plaintiffs did not identify

any specific items which they believed to be uniquely in the Secretary’s

personal knowledge.

     Nevertheless, Plaintiffs admitted that they only sought the

Secretary’s deposition “as a last resort” and “as the last Defendant’s

deposition to be taken so that [Plaintiffs] can assess whether and to

what extent other witnesses have been able to address fully essential

areas of inquiry Plaintiffs have.” Id. at 3–4. Plaintiffs said that they

would withdraw the deposition notice “[i]f and to the extent that other

witnesses cumulatively have fully addressed the issues about which

[Plaintiffs] would question the Secretary[.]” Id. at 4. And, importantly,

Plaintiffs said that if any “questions remain unanswered that it appears

the Secretary should be capable of answering,” they would “present

those questions to the Court and seek leave to take Secretary

Raffensperger’s deposition as a last resort.” Id. at 4.

     On January 27, 2022, the district court held a telephone




3 None of this was surprising, of course, given the tremendous attention

 given and false accusations lodged at Georgia’s election system in the
 wake of the 2020 election.

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conference on various discovery-related issues, including the deposition

notice Plaintiffs served on the Secretary. Without hearing argument

from the parties on the issue, the district court acknowledged that the

Secretary was unlikely to have any critical information that could not

be gleaned from another witness, and also acknowledged the

tremendous burden testifying would place on the Secretary. Ex. 5 at

45:2–4 (“it looked like lots of people were involved and not only the

Secretary of State. He has a lot going on.”). Nevertheless, the Court said

that it was “completely deferring” the issue “because we don’t know

what these other people are going to say.” Id. at 44:24–25.

      Plaintiffs never brought the issue up again to the district court

and the Secretary was never deposed.

II.   Plaintiffs have identified and deposed numerous other
      witnesses from within the Secretary’s Office.

      Throughout this case, Plaintiffs have identified numerous current

and former employees of the Secretary’s Office as witnesses, obviating

the need for any last-minute testimony from the Secretary himself.

Plaintiffs deposed six of these witnesses over the course of nine

depositions during discovery, and they have identified an additional two

current or former employees of the Secretary’s Office on their witness

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list for trial that were not deposed during discovery. These include:

                          Deposed witnesses.

  • Gabe Sterling: Mr. Sterling is the Chief Operating Officer in the
    Secretary’s Office. He was deposed twice in this case as a Rule
    30(b)(6) representative and is identified on both parties’ witness
    lists as a “will call” witness at trial.

  • Merritt Beaver: Mr. Beaver is the Chief Information Officer of
    the Secretary’s Office. He was deposed twice in this case as a Rule
    30(b)(6) representative of the Secretary’s Office and is identified
    on Plaintiffs’ witness list for trial as a “will call” witness.

  • Michael Barnes: Mr. Barnes is the Director of the Center for
    Elections Systems in the Secretary’s Office. He was deposed twice
    in this case and is identified on both parties’ witness lists as a
    “will call” witness.

  • Chris Harvey: Mr. Harvey was the Director of Elections in the
    Secretary’s Office from 2015–2021. He was deposed January 28,
    2022 and is identified as a “will call” witness on Plaintiffs’ witness
    list for trial.

  • Robert Sinners: Mr. Sinners is the Communications Director in
    the Secretary’s Office. Mr. Sinners was deposed in this case and is
    identified on Plaintiffs’ witness list as a “will call” witness for
    trial.

  • David Hamilton: Mr. Hamilton served as a contracted Chief
    Information Security Officer in the Secretary’s Office. He was
    deposed in January 2022 and is identified as a “will call” witness
    on Plaintiffs’ witness list for trial. Mr. Hamilton previously
    testified about security assessment and implementation of
    security measures in the Secretary’s Office.

  • Joshua Blanchard: Mr. Blanchard is an investigator in the
    Secretary’s Office. Plaintiffs have identified him as a “may call”
    witness for trial.


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  • James Oliver: Mr. Oliver was a security manager in the
    Secretary’s Office and was deposed January 17, 2022. Mr. Oliver
    is not included on Plaintiffs’ witness list.

                       Non-deposed witnesses.

  • Ryan Germany: Mr. Germany was the General Counsel of the
    Secretary’s Office from 2014–2023. Plaintiffs did not depose
    Mr. Germany during discovery but have now identified him as a
    “will call” witness on their witness list for trial.

  • Frances Watson: Ms. Watson was previously the Chief
    Investigator of the Secretary’s Office. Plaintiffs did not depose
    Ms. Watson during discovery but have now identified her as a
    “will call” witness on their witness list for trial.

     In addition to these witnesses, Plaintiffs have included several

current and former members of Georgia’s State Election Board as “may

call” witnesses, including Edward Lindsey, Matt Mashburn, Sara

Ghazal, Dr. Janice Johnston, and Rebecca Sullivan.

III. Two years later, Plaintiffs include the Secretary on their
     will-call list for trial.

     For nearly two years, Plaintiffs did not raise any issue regarding

their purported need for the Secretary’s testimony. That is, until late

2023—almost two years since the last time the Plaintiffs had mentioned

the issue—when Plaintiffs included the Secretary on their witness list

and served a trial subpoena on the Secretary. Ex. 6. The Secretary

again objected to the need for him to testify personally and filed a


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motion on December 7, 2023 to preclude Plaintiffs from calling him at

trial. Ex. 7 at 9–10.

      In response, Plaintiffs argued that they had a special need to call

the Secretary because: (1) he has “ultimate responsibility for the actions

(or inactions) of his Office,” (2) “has offered a multitude of statements as

Secretary of State concerning the facts of this case,” and (3) “statements

concerning his Office’s awareness and mitigation of the Coffee County

breach.” Ex. 8 at 19–21. Specifically, Plaintiffs pointed to the following

statements the Secretary had made about the case in a press release

and a June 20, 2023 letter to the Georgia General Assembly:

   • “[Plaintiffs’ expert] Dr. Halderman’s report is ‘not an objective,
     academic study by a non-biased actor’ but rather ‘assertions by an
     individual who is paid to espouse opinions supporting the
     elimination of electronic voting systems to help a lawsuit brought
     by liberal activists;’”

   • “The Halderman report was the result of a computer scientist
     having complete access to the Dominion equipment and software
     for three months in a laboratory environment;”

   • “The ‘critics of Georgia’s election security’ you’ve probably seen
     quoted in the media are from one of only two groups: election-
     denying conspiracy theorists or litigants in the long-running
     Curling lawsuit. These two groups make ever-shifting but always
     baseless assertions that Georgia’s election system is at risk
     because bad actors might hack the system and change the result
     of an election;”



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  • “We have layers of security protocols and procedures to physically
    protect ballots, the system, the software, and the results. We have
    tests and audits to verify results;”

  • “[The Halderman report] identified risks that are theoretical and
    imaginary;”

  • “It’s more likely that I could win the lottery without buying a
    ticket” than that bad actors could install malware on all 35,000
    pieces of equipment systems to change election outcomes;

   • “[W]e commit to publicly affirming the security and integrity of
     elections” including by having in place “practices such as testing
     all voting machines to ensure they are secure, conducting audits of
     ballots after every election to confirm the accuracy of the results,
     and storing paper ballots in secure facilities to maintain a paper
     trail”; and

   • Various statements regarding the investigation of allegations
     concerning unauthorized access to equipment in Coffee County,
     Georgia.

Id. at 25–27 (citations omitted). Plaintiffs argued that only the

Secretary can “explain what the Secretary meant by his own

statements, what he considered for those claims, and what exactly he

contends his Office has done to mitigate the severe election risks

[Plaintiffs claim that they have] identified in this case[.]” Id. at 22.

IV.   The district court compels the Secretary to testify at trial.

      Last Friday, December 15, 2023, the district court held an hours-

long pretrial conference to address various outstanding motions and

other pretrial issues, including Plaintiffs’ stated intent to call the

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Secretary to testify. Once again, Plaintiffs justified their inclusion of the

Secretary on their will-call list by pointing almost exclusively to the

Secretary’s public statements about Georgia’s election system and the

allegations Plaintiffs make in this case. 4 Ex. 1 at 125:3–14 (“The

Secretary has made very specific statements…He’s very specific about

his claims on the security of the system in light of this case.”).

     At the hearing, the district court agreed with Plaintiffs and orally

denied the Secretary’s motion. Id. at 122:14–123:5, 127:1–128:15. In

doing so, the district court essentially affirmed Plaintiffs’ trial subpoena

and compelled the Secretary to testify at trial when called. The district

court said that it had “spared [the Secretary] for a significant period of

time when it was not necessary to have him as a witness,” but that he

was necessary now because of “the statements [he] made because

nothing else is going to replace that at this point.” Id. at 122:14–123:5.

As the district court put it, the Secretary’s testimony was necessary




4 Plaintiffs also pointed to the fact that the Secretary was on

 Defendants’ witness as a “may call” witness. But Defendants only
 added the Secretary after Plaintiffs had placed him on their witness
 list and to avoid waiving any right to call the Secretary in Defendants’
 own case in chief if he was forced to testify in Plaintiffs’.

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because “he’s head of the department and has been so throughout the—

basically all of the relevant period now. And he has made a great

number of statements that are relevant, and he continues to.” Id.

     The district court justified its order by noting that elections were

“important to the Secretary of State,” and that it didn’t think testifying

would be particularly burdensome because the Secretary’s office is only

“six minutes from this courthouse. Even by walking, it is about ten

minutes.” Id. at 123:10–11, 128:12–14. The district court then said it

would issue a written order.

     On Wednesday, December 20, 2023, the district court issued its

written order denying the Secretary’s motion and allowing Plaintiffs to

call the Secretary for up to 75 minutes’ worth of direct examination.

Ex. 9.5 As it had said at the pretrial conference, the district court found

that Plaintiffs could call the Secretary because he made “numerous

statements … about this case, [Plaintiffs’ expert] Dr. Halderman, the

Coffee County data system breach, and the resulting implications for




5 The district court also said that it would “determine the length of any

 re-direct permissible after hearing what, if any testimony, defense
 counsel elicits from the Secretary.” Id. at 5.

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the security of the election system in Georgia,” and because the

Secretary is the “final decision maker and head of the department[.]”

Ex. 9 at 4. The district court found that this information could not be

obtained from anyone else because “only the Secretary himself can

explain what he meant when he made [these] statements].]” Id. at 4–5.

     The Secretary then filed this Petition the day after receiving the

district court’s written order. Trial is set to begin January 9, 2024.

                      STANDARD OF REVIEW

     “Mandamus is an extraordinary remedy, and it is appropriate only

when ‘no other adequate means are available to remedy a clear

usurpation of power or abuse of discretion by the district court.” In re

USA, 624 F.3d 1368, 1372 (11th Cir. 2010) (quotations omitted).

                              ARGUMENT

I.   The district court clearly abused its discretion by
     compelling the Secretary to testify at trial.

     The district court’s order compelling the Secretary to testify was

inappropriate because Plaintiffs have not identified any essential

information uniquely in the Secretary’s possession that could not be

addressed by the numerous other employees from the Secretary’s Office

that Plaintiffs have identified as witnesses in this case.

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     As this Court has previously held, requiring high-ranking

government officials like the Secretary 6 to testify not only implicates

substantial federalism concerns, but it also creates serious practical

consequences by distracting and inhibiting those officials from fulfilling

their official duties. In re USA, 624 F.3d at 1372; see also United States

v. Morgan, 313 U.S. 409 (1951) (“it [is] not the function of the court to

probe the mental processes of the Secretary”); In re Univ. of Michigan,

936 F.3d 460, 465 (6th Cir. 2019) (holding federalism concerns justified

granting mandamus when a district court improperly “invoke[ed]

federal power to haul a high-ranking state official into federal court”).

“High-ranking officials … are often drawn into lawsuits. They cannot

perform their duties if they are not personally shielded from the

burdens of litigation.” In re Paxton, 60 F.4th at 258. Indeed, executive




6 There is no serious dispute that the Secretary qualifies as a high-

 ranking government official who is protected under this standard. The
 Secretary is an independent Executive-branch official in the State of
 Georgia holding a statewide constitutional office that is elected to a
 four-year term. Ga. Const. art. V, § 3, ¶ I. The Secretary bears a wide
 variety of responsibilities, including overseeing Georgia’s elections, the
 State’s regulation of the securities industry and charitable
 organizations, the issuance of numerous professional licenses, and
 corporate registrations.

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officials’ “execution of the laws can be crippled if courts can

unnecessarily burden [officials] with compelled [testimony].” In re U.S.

Dep’t of Educ., 25 F.4th 692, 701 (9th Cir. 2022).

     “In order to protect officials from the constant distraction of

testifying in lawsuits,” this Court has established that such officials can

only be compelled to testify under “exceptional circumstances” where

there is a “special need” for the official’s testimony, a standard that is in

accord with other circuits. Id. 1372–74; see also, e.g., In re Paxton, 60

F.4th at 258; Simplex Time Recorder Co. v. Sec’y of Labor, 766 F.2d 575,

586 (D.C. Cir. 1985); United States v. Merhige, 487 F.2d 25, 29 (4th Cir.

1973). To show a “special need,” the party seeking the officials’

testimony must demonstrate not only that the official has “first-hand

knowledge related to the claim being litigated,” but also that “other

persons cannot provide the necessary information.” Bogan v. City of

Bos., 489 F.3d 417, 423 (1st Cir. 2007). Where relevant “testimony [is]

available from alternate witnesses,” no special need exists, and courts—

including this one—have issued writs of mandamus protecting officials

from the distraction of having to testify. E.g., In re United States, 985

F.2d at 512; In re Paxton, 60 F.4th at 258; In re U.S. Dep’t of Educ., 25



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F.4th at 704. Moreover, it is not enough that the information be

“relevant,” it must also be “essential to the claims alleged by the

plaintiffs.” Id., at 704 (issuing writ of mandamus where plaintiffs “have

not demonstrated that the taking of [Secretary] DeVos’s deposition is

essential to their case.”).

      Using this same standard, the Fifth Circuit recently issued a writ

of mandamus under almost identical circumstances. Similar to

Plaintiffs here, the plaintiffs in In re Paxton sought to depose the

Attorney General of Texas because “his public statements—including

official advisories, campaign statements, and tweets—allegedly

contradicted his court filings” about various issues in the litigation. 60

F.4th at 254–55. The district court thought the Attorney General’s

testimony was necessary because “he ‘possesses unique, first-hand

knowledge’ about his intentions to enforce the challenged laws.” Id. at

255. Because the Attorney General had “‘inserted himself into this

dispute by repeatedly tweeting and giving interviews about [the

challenged laws],’ the [district] court concluded that ‘Paxton alone is

capable of explaining his thoughts and statements.’” Id.

      The Fifth Circuit emphatically rejected this reasoning. Like the



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Secretary’s statements in this case, “Paxton’s personal ‘thoughts and

statements’ [had] no bearing” on the essential elements of the case. Id.

at 258. “It is entirely unexceptional for a public official to comment

publicly about a matter of public concern. If doing so imparts unique

knowledge, high-level officials will routinely have to testify.” Id. And if

there was “a need to clarify the office’s enforcement policy, a

representative [could] do so on the Attorney General’s behalf.” Id.

Accordingly, the Fifth Circuit found that the district court “committed a

‘clear abuse of discretion’” in not quashing the subpoena and issued a

writ of mandamus to the district court. Id. at 259.

     Here, like the trial court in In re Paxton, the district court plainly

erred by failing to identify any “essential” facts that could not be

obtained from the testimony of the ten other witnesses from the

Secretary’s office. The district court focused on the Secretary’s

“numerous statements” about the case, Plaintiffs’ experts, and the

“steps the State has taken to ensure the security of the voting system.”

Ex. 9 at 4. These comments, coupled with the fact that the Secretary is

the “final decision maker and head of the department,” led the district

court to find Plaintiffs’ had a “special need” because the Secretary has



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“direct personal factual information pertaining to material issues.” Id.

But the district court (and Plaintiffs) failed to explain why the

statements themselves are “essential” to Plaintiffs’ case. In re U.S. Dep’t

of Educ., 25 F.4th at 704. “[W]hat the [Secretary] meant when he made

the statements” simply has no bearing on the essential elements of this

case—whether Georgia’s use of the BMD System imposes an

unconstitutional burden on Plaintiffs’ right to vote. Ex. 9 at 5; see also

In re Paxton, 60 F.4th at 258 (“Paxton’s personal ‘thoughts and

statements’ have no bearing on his office’s legal authority to enforce

Texas’s abortion laws or any other law.”). After all, “it [is] not the

function of the court to probe the mental processes of the Secretary[.]”

Morgan, 313 U.S. at 422. And to the extent the factual substance of the

Secretary’s statements about Georgia’s voting system is at issue,

Plaintiffs can obtain that from the ten other witnesses they’ve identified

throughout this case, which include the Secretary’s Chief Operating

Officer, Chief Information Officer, former Chief Information Security

Officer, Director of the Center for Elections Systems, former Elections

Director, former General Counsel, and Chief Investigator.

     Indeed, if Plaintiffs had truly believed that the Secretary had



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some essential, unique knowledge, one would expect that they would

have vigorously pursued that discovery during the many years of

discovery in this case. Plaintiffs previously represented to the district

court two years ago that if any “questions remain unanswered” at the

end of discovery that it appears the Secretary should be capable of

answering,” they would “present those questions to the Court and seek

leave to take Secretary Raffensperger’s deposition as a last resort.”

Ex. 4 at 4. But Plaintiffs never raised the issue again with the court. Id.

Had they done so, the parties could have addressed it then and not had

to engage in rushed briefing before this Court with less than three

weeks to go until trial. Plaintiffs’ (and the district court’s) decision to

wait until the eve of trial to haul the Secretary into court to personally

testify suggests that the real reason is to harass the Secretary, not

because there are essential “questions [that] remained unanswered.”

      Moreover, the mere fact that the Secretary is the “final decision

maker and head of the department” and made public statements about

an issue of intense public interest is true of every high-ranking official,

including the President of the United States. Ex. 8 at 19–21. That alone

does not demonstrate that the Secretary has “first-hand knowledge



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related to the claim being litigated,” in which “other persons cannot

provide the necessary information.” Bogan, 489 F.3d at 423. If high-

ranking government officials like the Secretary could be hauled into

federal court to testify in a case simply because they had ultimate

responsibility over decisions made by their office or because they made

public statements about subject matters squarely within their portfolio,

they would “routinely have to testify” and become nothing more than

publicly funded professional witnesses. See In re Paxton, 60 F.4th at

258; see also In re United States, 985 F.2d at 512. Or worse, they would

avoid speaking on matters of public importance altogether. In either

event, they would no longer be doing the job the public elected them to

do.

      The district court also clearly erred when it trivialized the burden

that testifying at trial imposes on the Secretary. At the pretrial

conference, the district court held that this wouldn’t be a significant

distraction to the Secretary because “what could be more important




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than elections,” Plaintiffs would only get 75 minutes7 of opening direct

examination, and his office is “essentially six minutes from this

courthouse. Even by walking, it is about ten minutes.” Ex. 1 at 123:10–

11, 127:24–128:14.

      But that ignores the fact that this trial is occurring in the middle

of the legislative session 8 and during preparations for the 2024 election

cycle. It also ignores the serious consequences and burden the

“cumulative effect” this reasoning sets for current and future election-

related cases in Georgia. In re United States, 985 F.2d at 512 n.2. The

Secretary’s office is regularly involved in election-related litigation as a

routine function of the job—at current count, the Secretary is a named

defendant in at least 20 active pieces of litigation in various courts, not

counting the dozens of other cases that are now closed. See Addendum 2

(list of active litigation involving the Secretary’s office). The fact that

the district limited his testimony to 75 minutes of direct examination



7 This does not count the time for any redirect examination, which the

 district court said it would determine after “hearing what, if any
 testimony, defense counsel elicits from the Secretary.” Ex. 9 at 5.
8 The regular legislative session for the Georgia General Assembly

 convenes on the second Monday of each January, or January 8, 2024.
 Ga. Const. art. III, § 4, ¶ I.

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(not counting cross or redirect) is of no consequence. If the Secretary

were required to testify in every elections-related case, even where

limited, the “cumulative effect … would be considerable” and “his time

would be monopolized by preparing and testifying” as he became a

perpetual witness. In re United States, 985 F.2d at 512. That’s not the

job the people of Georgia elected him to do. That very concern has

motivated this Court to issue writs of mandamus in situations requiring

far less onerous testimony than the district court seeks to require of the

Secretary. See id. at 511–13 (issuing writ of mandamus to quash

subpoena where official was only going to be required to sit for 30-

minute deposition by telephone).

      In short, the district court committed a clear abuse of discretion in

compelling the Secretary to appear at trial under these circumstances,

and its reasoning “undermine[s the exceptional circumstances test” in

its entirety. In re Paxton, 60 4th at 258. Accordingly, the Secretary has

demonstrated a clear and indisputable right to relief.

II.   The writ is appropriate under the circumstances and there
      are no other adequate remedies available.

      A writ of mandamus is also appropriate here because there are no

other adequate remedies available. While “mandamus is an

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extraordinary remedy,” this Court has held that it is the appropriate

remedy for a high-ranking official who has been inappropriately

compelled to testify. See In re USA, 624 F.3d at 1372; In re United

States, 985 F.2d at 512–13. Without the writ, the official “will be

compelled either to submit to testifying or risk contempt charges for

violating the court’s order,” implicating serious federalism concerns in

the process. In re Paxton, 60 F.4th at 259. That Hobson’s choice is no

remedy at all and is incompatible with the respect which federal courts

owe to a state’s sovereign interests.

                             CONCLUSION

     For the reasons stated above, the Secretary requests that Court

issue a writ of mandamus compelling the district court to quash

Plaintiffs’ trial subpoena to the Secretary or otherwise vacate its order

compelling the Secretary to testify at trial.

     Respectfully submitted this 21st day of December, 2023,

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                CERTIFICATE OF COMPLIANCE

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                                           /s/ Vincent R. Russo




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             ADDENDUM 1 – LIST OF EXHIBITS

Ex. No.                           Description

  1       Transcript of December 15, 2023 Pretrial Conference

          Coalition Plaintiffs’ Notice of Deposition to Secretary
  2
          Brad Raffensperger

          Secretary Brad Raffensperger’s Notice of Objection to
  3
          Plaintiffs’ Notice of Deposition

          Plaintiffs’ Response to the Secretary’s Objections to
  4
          Plaintiffs’ Notice of Deposition

  5       Transcript of January 27, 2022 Telephone Conference


  6       Plaintiffs’ trial subpoena to Secretary Raffensperger


  7       Defendants’ Omnibus Motion in Limine

          Plaintiffs’ Response to Defendants’ Omnibus Motion
  8
          in Limine

  9       District Court’s December 20, 2023 Order




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             ADDENDUM 2 – LIST OF ACTIVE CASES

1.    Alpha Phi Alpha Fraternity, et al. v. Raffensperger, No. 1:21-CV-
      5337-SCJ (N.D. Ga.)

2.    Asian Americans Advancing Justice v. Raffensperger, et al., No.
      1:21-CV-01333-JPB (N.D. Ga.)*

3.    Bell v. Sec’y of State for the State of Georgia, et al., No. 23-10059
      (11th Cir.)

4.    Coalition for Good Governance, et al. v. Raffensperger, et al., No.
      1:21-CV-02070-JPB (N.D. Ga.)

5.    Common Cause, et al. v. Raffensperger, et al., No. 1:22-CV-0090-
      SCJ (N.D. Ga.)

6.    Curling et al., et al. v. Raffensperger, et al., No. 1:17-cv-02989-AT
      (N.D. Ga.)

7.    Cowen, et al. v. Raffensperger, No. 1:17-CV-04660-LMM (N.D. Ga.)

8.    Durand, et al. v. Raffensperger, No. 1:22-cv-01784-WMR (N.D.
      Ga.)

9.    Georgia Coalition for the People’s Agenda v. Raffensperger, 1:18-
      CV-04727-ELR (N.D. Ga.)

10.   Georgia State Conference of the NAACP, et al. v. Raffensperger, et
      al., No. 1:21-CV-01259-JPB (N.D. Ga.)*

11.   Georgia State Conference of the NAACP, et al. v. Raffensperger, et
      al., No. 1:21-CV-5338-SCJ-SDG-ELB (N.D. Ga.)

12.   Grant, et al. v. Raffensperger, et al., No. 1:22-CV-0122-SCJ (N.D.



* Cases consolidated for purposes of discovery as In re Georgia Senate

 Bill 202, No. 1:21-MI-55555-JPB (N.D. Ga.)

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      Ga.)

13.   Lovell v. Raffensperger, et al., No. 2022ECV0610 (Columbia Cty.
      Sup. Ct.)

14.   New Georgia Project, et al. v. Raffensperger, No. 1:21-CV-01229-
      JPB (N.D. Ga.)*

15.   Pendergrass, et al. v. Raffensperger, et al., No. 1:21-CV-5339-SCJ
      (N.D. Ga.)

16.   Rose, et al. v. Raffensperger, No. 1:20-CV-02921-SDG (N.D. Ga.)

17.   Sixth District AME Church, et al. v. Raffensperger, et al., No. 1:21-
      CV-01284-JPB (N.D. Ga.)*

18.   Swanson v. Sec’y of State for the State of Georgia, et al., No. 23-
      11738 (11th Cir.)

19.   The Concerned Black Clergy of Metropolitan Atlanta, Inc., et al. v.
      Raffensperger, et al., No. 1:21-CV-01728-JPB (N.D. Ga.)*

20.   Tullos v. Raffensperger, et al., No. 2022SUCA193 (Morgan Cty.
      Sup. Ct.)

21.   United States v. State of Georgia, et al., No. 1:21-CV-02575-JPB
      (N.D. Ga.)*

22.   VoteAmerica, et al. v. Raffensperger, et al., No. 1:21-CV-01390-JPB
      (N.D. Ga.)

23.   VoterGA, et al. v. State of Georgia, No. 2022CV361918 (Fulton Cty.
      Sup. Ct.)




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